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                                    UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF TEXAS
                                                  Fort Worth Division

 UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE

 v.                                                                 Case Number: 4:22-CR-00008-O(01)
                                                                    U.S. Marshal’s No.: 75253-509
 STEPHEN MICHAEL KADLEC                                             Levi Thomas, Assistant U.S. Attorney
                                                                    Miles Brissette, Attorney for the Defendant


       On January 26, 2022 the defendant, STEPHEN MICHAEL KADLEC, entered a plea of guilty as to Count
One of the Information filed on January 7, 2022. Accordingly, the defendant is adjudged guilty of such Count,
which involves the following offense:

 Title & Section                           Nature of Offense                                    Offense Ended       Count
 26 U.S.C. §5861(e), §5871 and 18 U.S.C.   Transfer of a Firearm in Violation of the National   11/18/2021          One
 §2                                        Firearms Act


       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to Title 18, United States Code § 3553(a), taking the guidelines issued by the United States Sentencing
Commission pursuant to Title 28, United States Code § 994(a)(1), as advisory only.

        The defendant shall pay immediately a special assessment of $100.00 as to Count One of the Information
filed on January 7, 2022.

       The defendant shall notify the United States Attorney for this district within thirty days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid.


                                                               Sentence imposed June 24, 2022.




                                                               ____________________________________________
                                                               REED O’CONNOR
                                                               U.S. DISTRICT JUDGE


                                                               Signed June 24, 2022.
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                                               IMPRISONMENT

        The defendant, STEPHEN MICHAEL KADLEC, is hereby committed to the custody of the Federal
Bureau of Prisons (BOP) to be imprisoned for a term of TWENTY-FOUR (24) MONTHS as to Count One of
the Information filed on January 7, 2022.

       The Court recommends to the BOP that the defendant be allowed to participate in the Residential Drug
Treatment Program, if eligible. The Court makes a non-binding recommendation to the BOP that Defendant, if
appropriately classified, be allowed to serve his term of imprisonment as near as geographically possible to FMC
Fort Worth.

      The Defendant is ordered to voluntarily surrender to the designated BOP facility before 2:00 pm on
Tuesday, July 26, 2022.

                                           SUPERVISED RELEASE

      Upon release from imprisonment, the defendant shall be placed on supervised release for a term of TWO
(2) YEARS as to Count One of the Information filed on January 7, 2022.

        As part of your supervised release, you must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for your behavior while
on supervision and identify the minimum tools needed by probation officers to keep informed, report to the court
about, and bring about improvements in your conduct and condition.

( 1)   You must report to the probation office in the federal judicial district where you are authorized to
       reside within 72 hours of your release from imprisonment, unless the probation officer instructs
       you to report to a different probation office or within a different time frame.
( 2)   After initially reporting to the probation office, you will receive instructions from the court or the
       probation officer about how and when you must report to the probation officer, and you must report
       to the probation officer as instructed.
( 3)   You must not knowingly leave the federal judicial district where you are authorized to reside
       without first getting permission from the court or the probation officer.
( 4)   You must answer truthfully the questions asked by your probation officer.
( 5)   You must live at a place approved by the probation officer. If you plan to change where you live
       or anything about your living arrangements (such as the people you live with), you must notify the
       probation officer at least 10 days before the change. If notifying the probation officer in advance
       is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
( 6)   You must allow the probation officer to visit you at any time at your home or elsewhere, and you
       must permit the probation officer to take any items prohibited by the conditions of your supervision
       that he or she observes in plain view.
( 7)   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the
       probation officer excuses you from doing so. If you do not have full-time employment you must
       try to find full-time employment, unless the probation officer excuses you from doing so. If you
       plan to change where you work or anything about your work (such as your position or your job
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       responsibilities), you must notify the probation officer at least 10 days before the change. If
       notifying the probation officer at least 10 days in advance is not possible due to unanticipated
       circumstances, you must notify the probation officer within 72 hours of becoming aware of a
       change or expected change.
( 8)   You must not communicate or interact with someone you know is engaged in criminal activity. If
       you know someone has been convicted of a felony, you must not knowingly communicate or
       interact with that person without first getting the permission of the probation officer.
( 9)   If you are arrested or questioned by a law enforcement officer, you must notify the probation
       officer within 72 hours.
(10)   You must not own, possess, or have access to a firearm, ammunition, destructive device, or
       dangerous weapon (i.e., anything that was designed, or was modified for, the specific purpose of
       causing bodily injury or death to another person such as nunchakus or tasers).
(11)   You must not act or make any agreement with a law enforcement agency to act as a confidential
       human source or informant without first getting the permission of the court.
(12)   If the probation officer determines that you pose a risk to another person (including an
       organization), the probation officer may require you to notify the person about the risk and you
       must comply with that instruction. The probation officer may contact the person and confirm that
       you have notified the person about the risk.
(13)   You must follow the instructions of the probation officer related to the conditions of supervision.

       In addition the defendant shall:

       not commit another federal, state, or local crime;

       not illegally possess controlled substances;

       cooperate in the collection of DNA as directed by the probation officer;

       not possess a firearm, ammunition, destructive device, or any dangerous weapon;

       refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15
       days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
       court;

       pay the assessment imposed in accordance with 18 U.S.C. § 3013;

       take notice that if this judgment imposes a fine, you must pay in accordance with the Schedule of
       Payments sheet of this judgment;

       participate in outpatient mental health treatment services as directed by the probation officer until
       successfully discharged, which services may include prescribed medications by a licensed physician,
       with the defendant contributing to the costs of services rendered (copayment) at a rate of at least $25 per
       month; and,
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    participate in an outpatient program approved by the probation officer for treatment of narcotic or drug
    or alcohol dependency that will include testing for the detection of substance use, abstaining from the
    use of alcohol and all other intoxicants during and after completion of treatment, contributing to the
    costs of services rendered (copayment) at the rate of at least $25 per month.

                                              FINE/RESTITUTION

    The Court does not order a fine or costs of incarceration because the defendant does not have the financial
    resources or future earning capacity to pay a fine or costs of incarceration.

    Restitution is not ordered because there is no victim other than society at large.

                                                 FORFEITURE

    Pursuant to 18 U.S.C. §982(a)(1) and 28 U.S.C. § 2461(c), it is hereby ordered that the defendant's interest
    in the following property is condemned and forfeited to the United States: a machine gun, described as a
    black in color, 9-millimeter MP5-style rifle with a defaced manufacturer, model, and serial number; and
    a silencer, described as a black in color, cylindrical tube, including any associated ammunition recovered
    with the firearm.

                                                     RETURN

           I have executed this judgment as follows:




           Defendant delivered on _____________________ to ___________________________________

    at ________________________________________________, with a certified copy of this judgment.


                                                       United States Marshal

                                                       BY
                                                       Deputy Marshal
